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 6   Attorneys for Defendants NSO Group Technologies LTD.
     And Q Cyber Technologies LTD.
 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11
     CARLOS DADA, SERGIO ARAUZ,                  Case No. 3:22-cv-07513-JD
12   GABRIELA CÁCERES GUTIÉRREZ, JULIA           [The Honorable James Donato]
     GAVARRETE, ROMAN GRESSIER,
13   GABRIEL LABRADOR, ANA BEATRIZ               DECLARATION OF AARON S. CRAIG
     LAZO ESCOBAR, EFREN LEMUS,                  IN SUPPORT OF DEFENDANTS NSO
14   DANIEL LIZÁRRAGA, CARLOS LÓPEZ              GROUP TECHNOLOGIES LIMITED
     SALAMANCA, CARLOS MARTÍNEZ,                 AND Q CYBER TECHNOLOGIES
15   ÓSCAR MARTÍNEZ, MARÍA LUZ                   LIMITED’S ADMINISTRATIVE
     NÓCHEZ, VÍCTOR PEÑA, NELSON                 MOTION TO FILE UNDER SEAL
16   RAUDA ZABLAH, DANIEL REYES
     MARTÍNEZ, MAURICIO SANDOVAL                 FILED UNDER SEAL - REDACTED
17   SORIANO, and JOSÉ LUIS SANZ,                VERSION OF DOCUMENT SOUGHT TO
                                                 BE SEALED
18                Plaintiffs,
                                                 HIGHLY CONFIDENTIAL—
19         v.                                    ATTOREYS’ EYES ONLY

20   NSO GROUP TECHNOLOGIES LTD.                 Judge: Honorable James Donato
     And Q CYBER TECHNOLOGIES LTD.,
21                                               Action Filed: 11/30/2022

22                Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                           Case No. 3:22-cv-07513
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            I, Aaron S. Craig, declare as follows:
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            1.      I am a member of the California State Bar and the bar of this court, a partner in the
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     law firm of King & Spalding LLP, and counsel of record to Defendants NSO Group Technologies
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     Limited and Q Cyber Technologies Limited (collectively, the “Defendants”). This Declaration is
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     made in support of Defendants’ December 21, 2023, Administrative Motion to Seal and in support
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     of Defendants’ Supplemental Memorandum in Support of Motion to Dismiss (“Supplemental
 7
     Memorandum”). I have personal knowledge of the facts set forth herein and, except as otherwise
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     stated, could testify competently to each fact averred herein.
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            2.      The Complaint was filed November 30, 2022. (Dkt. No. 1.) Plaintiffs amended
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     the complaint on December 16, 2022. (Dkt. No. 31.) Defendants moved to dismiss on April 14,
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     2023. (Dkt. Nos. 42, 45, 46.) Among the grounds cited in Defendants’ Motion is forum non
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     conveniens. (Id. at 7-9.) On August 17, 2023, Defendants filed a motion for entry of a proposed
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     protective order to provide certain documents to Plaintiff’s counsel and to the Court that
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     Defendants contend are sensitive and highly confidential and should be subject to an attorneys’
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     eyes only designation (the “AEO Materials”). (Dkt. No. 56.) On October 3, 2023, the Court
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     ordered that in the absence of an agreement by the parties on a protective order, the Court would
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     enter the District’s Stipulated Protective Order for Standard Litigation and that the parties were to
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     file by October 16, 2023, a proposed protective order consistent with this Order. (Dkt No. 62).
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     The parties filed such a Protective Order on October 24, 2023 (Dkt. No. 65) and the Court entered
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     it on October 31, 2023 (Dkt. No. 66). On November 14, 2023, the parties filed a stipulation with
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     a request to supplement the protective order, so that Defendants could submit to Plaintiffs’ counsel
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     and to the Court certain confidential information and documents related to their motion to dismiss,
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     which the Court granted on November 17, 2023. (Dkt. No. 68.) Defendants submitted that
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     information and materials on December 5, 2023 to Plaintiffs’ counsel and to the Court, in
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     connection with Defendants’ Administrative Motion to Seal. (Dkt. No. 70.)
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            3.      Defendants seek to file under seal documents (the “Sealed Documents” 1) related to
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     1 The Sealed Documents are enumerated and defined in paragraph 12, below.
       DEFENDANTS’ ADMINISTRATIVE MO-               1                        Case No. 3:22-cv-07513
       TION TO FILE UNDER SEAL
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      Case 3:22-cv-07513-JD Document 73-5 Filed 01/06/24 Page 4 of 10




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 4                                                                                The

 5   request sought to                         making

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12          5.      On July 19, 2020,

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20                        The order authorized the

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24                           The order also authorized

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28          6.      On July 19, 2020,
       DEFENDANTS’ ADMINISTRATIVE                    3           Case No. 3:22-cv-07513
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 1                                                                          The letter

 2   notified Defendants about the

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 7                            including a prohibition on

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10          7.     On January 10, 2022,

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12                        in his capacity as

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22          8.     On January 17, 2022,

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24   notified Defendants about the

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       DEFENDANTS’ ADMINISTRATIVE                    4           Case No. 3:22-cv-07513
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 3          11.    The

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19          12.    Defendants seek to file under seal: (1) Exhibit 1 to this declaration, certain language

20   on pages 1-9 of Defendants’ Supplemental Memorandum; (2) Exhibit 2 to this declaration, certain

21   language in paragraphs 2-7 of the Supplemental Declaration of Roy Blecher in Support of

22   Defendants’ Motion to Dismiss and the entirety of Exhibits A through D; (3) Exhibit 3 to this

23   declaration, certain language in paragraph 4 of the Declaration of Joseph N. Akrotirianakis in

24   Support of Defendants’ Motion to Dismiss; and (4) portions of paragraphs 3-11 and 13 of this

25   Declaration (the “Sealed Documents”).

26          13.    Good cause exists to seal each of the above-listed documents, along with the

27   highlighted portions of this Declaration, because the Sealed Documents come from or make

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       DEFENDANTS’ ADMINISTRATIVE                      6                            Case No. 3:22-cv-07513
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 1   reference to

 2                                                                         which is entitled to deference.

 3                    a.      First, the Sealed Documents contain information that relates to

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 5                                      As such, the Sealed Documents contain traditionally nonpublic

 6                  information for which there is no constitutional right of access. See, e.g., N.Y. Times

 7   Co. v. U.S. Dep't of Justice, 806 F.3d 682, 688 (2d Cir. 2015) (“As a general rule, there is no

 8   constitutional right of access to traditionally nonpublic government information.”) The fact that

 9   the documents were issued by                                                              and contain

10                                                                                      “alone counsels in

11   favor of finding that there is no presumptive public right of access” to these documents. Omari v.

12   Ras Al Khaimah Free Trade Zone Auth., 2017 WL 3896399, at *14 (S.D.N.Y. Aug. 18, 2017)

13   (sealing a white paper commissioned by a ruler of a political subdivision of foreign nation because

14   it contained “highly sensitive, traditionally nonpublic government information, in this case of a

15   foreign government”); see also In re Terrorist Attacks on Sept. 11, 2001, 2019 WL 3296959, at *5

16   (S.D.N.Y. July 22, 2019) (sealing multiple documents and finding that the documents contained

17   “traditionally nonpublic information” because the documents involved senior foreign officials,

18   were designated as sensitive at the time of creation, and detailed information about the nation’s

19   response to certain investigations).

20                    b.      Second,

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25                                           Societe Nationale Industrielle Aerospatiale v. U.S. Dist. Ct.,

26   482 U.S. 522, 543 n. 27 (1987).

27                                                            United States v. Sater, 2019 WL 3288289, at

28   *4 (E.D.N.Y. July 22, 2019). This is particularly true where, as in this case, the documents sought
       DEFENDANTS’ ADMINISTRATIVE                         7                           Case No. 3:22-cv-07513
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      Case 3:22-cv-07513-JD Document 73-5 Filed 01/06/24 Page 9 of 10




 1   to be sealed “

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10                    c.     Third, because

11                                                           public disclosure of the Sealed Documents

12   could

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17           13.      Accordingly, good cause (and, if necessary, a compelling reason) exists to seal each

18   of the above-listed documents, and Defendants respectfully request that the Court grant the

19   accompanying Administrative Motion to File Under Seal and order the Sealed Documents be kept

20   under seal.

21           14.      The Declarant has carefully sought sealing of only those parts of this Declaration

22   as are necessary to comply with other legal obligations binding on Defendants, as described above,

23   and, on behalf of Defendants, respectfully submits that the good cause and compelling reasons

24   standards are met with respect to the Sealed Documents. 5

25           I declare under the penalty of perjury and the laws of the United States that the foregoing

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27   5 To the extent the Court disagrees with Defendants’ sealing request, the Declarant respectfully
     requests that the Sealed Materials and the unredacted version of this Declaration be stricken from
28   the docket of this action and that any copies thereof be destroyed.
       DEFENDANTS’ ADMINISTRATIVE                       8                          Case No. 3:22-cv-07513
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 1   is true and correct this 6th day of January 2024, at Los Angeles, California.

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 3                                         /s/ Aaron S. Craig
                                             AARON S. CRAIG
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       DEFENDANTS’ ADMINISTRATIVE                       9                            Case No. 3:22-cv-07513
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